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                                                                Acting U.S. Attorney
                                                                Western District of Arkansas
                                                                David Clay Fowlkes




                                                    7/16/2021


 Justin Gelfand, Travis Story, Greg Payne
 Attorneys for Joshua Duggar


        RE:     United States of America v. DUGGAR
                Case No. 5:21CR50014-001

 Defense Counsel:

         Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure and your request
 for discovery, I am issuing the following notice of intent to call Marshall Kennedy and/or James
 M. Fottrell as witnesses at trial to illicit, either in combination or independently, expert testimony
 regarding the computer forensics involved in the instant case. Given that the expert testimony of
 both witnesses overlap, we will elect closer to trial how to present their testimony such to avoid
 redundancy.

 Background and Qualifications

        A. Marshall Kennedy

         Marshall Kennedy is employed as Computer Forensic Analyst (CFA) for the Department
 of Homeland Security, Homeland Security Investigations, and has been so employed for
 approximately four (4) years. CFA Kennedy is currently assigned to the Internet Crimes Against
 Children Taskforce (ICAC) as computer forensic examiner. His testimony and expertise will be
 based, in part, on his training, which includes over 400 hours of training and education in computer
 forensics and analysis. Attached is a detailed list of trainings CFA Kennedy has attended.

         CFA Kennedy’s testimony and expertise will likewise be based on his experience as a CFA.
 In his capacity as a CFA, he has conducted over 100 forensic examinations on various digital
 media devices, including computers, internal/external hard drives, and cellular phones. While
 employed by HSI, the vast majority of all forensic examinations performed by CFA Kennedy have
 been in the area of child exploitation, including forensically examining devices in cases involving
 peer-to-peer programs, such as BitTorrent, and cases dealing with the dark web, including the Tor
 browser.

        B. James M. Fottrell

         As outlined in the attached curriculum vitae and below, Mr. Fottrell’s testimony and
 expertise will be based on his extensive training and experience in computer forensics and analysis
 and online investigations involving the sexual exploitation of children.

        Mr. Fottrell currently serves as the Director of the High Technology Investigative Unit
 (HTIU) at the Department of Justice’s Child Exploitation and Obscenity Section (CEOS), where
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 he has worked since 2002. In his capacity as the Director of HTIU, he supervises a team of Digital
 Investigative Analysts, who conduct forensic analysis of seized computer systems, servers, mobile
 devices, and other media to provide investigative and analytical support to prosecutors and law
 enforcement agents. He also regularly conducts online investigations and analysis of devices and
 internet technologies used to commit federal child exploitation offenses, including peer-to-peer
 programs and the Tor network. He has numerous certifications, including certifications in
 computer evidence recovery training. Mr. Fottrell has also conducted technical training both for
 attorneys and for investigators in computer forensics and the various methods used to digitally
 traffic in child sexual abuse material. He has testified as an expert in numerous federal child
 exploitation trials on the subject of gathering and assessing digital forensic evidence, as well as
 the investigation of child exploitation crimes on the internet and anonymity websites. Prior to
 joining HTIU, Mr. Fottrell worked for several years at the U.S. Customs Service’s Cybercrime
 Center, where he was centrally involved in the investigation of technically complex cases,
 including child exploitation cases. Mr. Fottrell holds a bachelor’s degree in computer science.

 Anticipated Testimony

        A. Marshall Kennedy-Expert Opinion Disclosure

        In summary, I anticipate that CFA Kennedy, if called as a witness, will provide expert
 opinion testimony about the results of his forensic examination in this case, which are detailed in
 his 17-page forensic report provided in discovery, which are incorporated herein by reference,
 including:

         With respect to the HP Desktop computer: a) a forensic examination was conducted via the
 forensic software identified in his report; b) that he recovered evidence reflecting that the HP
 computer had a Linux partition installed and likewise had the internet-monitoring software
 Covenant Eyes installed; c) that his examination revealed that the password for the Windows
 division of the partition is “joshuajjd” and the password to the Linux partition is “Intel1988”; d)
 that on the Linux partition, forensic evidence supports that the Tor browser was downloaded,
 installed, and utilized to download and view child pornography, which is further outlined in the
 forensic report provided in discovery; e) that on the Linux partition, forensic evidence supports
 that the BitTorrent client uTorrent was downloaded, installed, and utilized to download and view
 child pornography, which is further outlined the forensic report; f) that forensic evidence supports
 that the child pornography files downloaded via both the Tor network using the Tor browser and
 the uTorrent (BitTorrent client) program were deleted by the user; and h) that the HP computer
 contained a trademark inscription indicating it was manufactured outside the state of Arkansas

         With respect to the MacBook: a) that the forensic examination revealed that your client
 was backing up or syncing his cellular phone to the MacBook during the timeframe at issue; c)
 that text messages or other electronic messages sent and received by your client during the
 timeframe at issue as outlined in Special Agent Faulkner’s reports provided in the discovery were
 recovered from the MacBook; d) that digital photos taken by your client that contain metadata,
 including geolocation information, as outlined in Special Agent Faulkner’s reports provided in the
 discovery were recovered from the MacBook; e) that the MacBook contained forensic evidence
 that your client uses or has used the same or a very similar password utilized to access the Linux
 partition on the HP computer, namely Intel1988, to access other accounts, including his personal
 bank account, his family’s Instagram account, his previous work email account, as well as other
 commercial accounts such as for his cellular phone service; and f) that the BitTorrent client
 uTorrent had been installed on the MacBook.



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       B. James M. Fottrell-Expert Opinion Disclosure

         In summary, I anticipate that if called as a witness, Mr. Fottrell will provide expert
 testimony confirming and/or independently conveying any and all of the disclosures/opinions
 listed above under CFA Kennedys expert disclosure section. The basis and reasons supporting Mr.
 Fottrell’s testimony are set out in the findings and results detailed in the Computer Forensic Report
 and Supplemental Computer Forensic Report prepared by Digital Investigative Analyst Bradley
 Gordon, both of which Mr. Fottrell reviewed and endorsed and both of which were prepared based
 on an examination of an image of the HP Desktop computer’s hard drive created by CFA Marshall
 Kennedy. Copies of these reports have been provided to you in discovery and are incorporated into
 this notice by reference. As part of Mr. Fottrell’s process of reviewing and endorsing these reports,
 Mr. Fottrell reviewed the findings and conclusions, the bases for these findings and conclusions,
 and the relevant attachments described in the reports. Mr. Fottrell also conducted his own
 examination of evidence located on the image copies of the seized electronic devices in this case,
 including your client’s MacBook.

         I further anticipate Mr. Fottrell’s testimony to cover, among other topics: thumbnail image
 files found on the HP computer and the significance of thumbnail image files; forensic evidence
 related to the Tor browser found on the HP computer as well as information about the Tor network
 generally, including that it is a known source of obtaining child pornography; forensic evidence
 related to the use of uTorrent found on the HP computer as well as information about torrent files
 and peer-to-peer file-sharing programs generally, including that peer-to-peer file-sharing programs
 are often used by offenders as a means to obtain child pornography; forensic evidence related the
 recently-used-file data found on the HP Desktop and the significance of recently-used-file data;
 and forensic evidence related to files recovered from the allocated and unallocated space on the
 HP computer, as well as the significance of allocated and unallocated space and of files recovered
 from these spaces.

        If you have any questions, please contact me.

                                                 Respectfully,


                                                 By:      /s/ Dustin Roberts
                                                          Dustin Roberts
                                                          Assistant U.S. Attorney
                                                          Western District of Arkansas




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